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                      UNITED STATES DISTRICT COURT FOR THE
                          SOUTHERN DISTRICT OF TEXAS
                              BROWNSVILLE DIVISION

UNITED STATES OF AMERICA                    §

       vs.                                  §       CRIMINAL NO. B-21-749

EXY ADELAIDA GOMEZ                          §

                                  PLEA AGREEMENT

       COMES NOW the United States of America, by and through its attorneys,

JENNIFER B. LOWERY,Acting United States Attorney for the Southern District of Texas,

and the undersigned Assistant United States Attorney, and the defendant, Exy Adelalda

Gomez, and the defendant's counsel, pursuant to Rule 11(c)(1)(B) of the Federal Rules

of Criminal Procedure, and state that they have entered into an agreement,the terms and

conditions of which are as follows:


       1. The defendant agrees to waive Indictment and plead guilty to the Felony

Information in this case. The Felony Information charges the defendant with Bribery of a

Public Official (bv acceotino oratuitv). in violation of Title 18, United States Code,

§201(c)(1)(B). The defendant, by entering this plea, agrees that she is waiving any right

to have the facts that the law makes essential to the punishment either charged in the

indictment, or proved to a jury or proven beyond a reasonable doubt.

       2. As part of this agreement, the United States agrees to recommend credit for

Acceptance of Responsibility, sentencing at the low end of the advisory guideline level

the defendant scores, and oriainal indictment will be dismissed at time of sentencing.

       3. The penalty for a violation of Title 18, United States Code, Section 201(c)(1)(B).

is a maximum term of imprisonment of _2_ years, a fine of up to $250.000.00. and a period

of supervised release not to exceed        years. The defendant also acknowledges and

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understands that if she should violate the conditions of any period of supervised release

which may be imposed as part of her sentence, then the Defendant may be imprisoned

for the entire term of supervised release without credit for time already served on the term

of supervised release prior to such violation. The defendant is not eligible for parole for

any sentence imposed.

       4. The defendant will pay to the United States District Clerk a special assessment

in the amount of one-hundred dollars ($100.00) per count of conviction, as required in

Title 18, United States Code, Section 3013(a)(2)(A). The payment will be by certified

check payable to United States District Clerk, Brownsville, Texas 78520.

       5. The defendant understands that under the Sentencing Guidelines, the Court is

permitted to order the defendant to pay a fine that is sufficient to reimburse the

government for the costs of any imprisonment or term of supervised release; if any is

ordered.


       6. The defendant agrees that any fine or restitution imposed by the Court will be

due and payable immediately, and defendant will not attempt to avoid or delay payment.

       7. Defendant agrees to make complete financial disclosure by truthfully executing

a sworn financial statement(Form OBD-500) prior to sentencing if he is requested to do

so. In the event that the Court imposes a fine or orders the payment of restitution as part

of the Defendant's sentence, the Defendant shall make complete financial disclosure by

truthfully executing a sworn financial statement immediately following his/her sentencing.

       8. Defendant recognizes that pleading guilty may have consequences with respect

to his/her immigration status if he/she is not a citizen of the United States. Defendant

understands that if he/she is not a citizen of the United States, by pleading guilty he/she


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may be removed from the United States, denied citizenship, and denied admission to the

United States in the future. Defendant also recognizes that if he/she is a naturalized

citizen, pleading guilty may result in loss of citizenship. Defendant's attorney has advised

Defendant of the potential immigration and/or denaturalization (loss of citizenship)

consequences resulting from Defendant's plea of guilty.

       9. The parties understand this agreement carries the potential for a motion for

departure under Section 5K1.1 of the Sentence Guidelines. The defendant understands

and agrees that whether such a motion is filed, will be determined solely by the United

States through the United States Attorney for the Southern District of Texas. Should the

defendant's cooperation, in the sole judgment and discretion of the United States, amount

to "substantial assistance", the United States reserves the sole right to file a motion for

departure pursuant to Section 5K1.1 of the Sentencing Guidelines and Policv Statement.

The defendant further agrees to persist in that plea through sentencing, fully cooperate

with the United States, and not oppose the forfeiture of assets contemplated in this

agreement. The defendant understands and agrees that the United States will request

that sentencing be deferred until that cooperation is complete.

       10.     The defendant understands and agrees that "fully cooperate" as used

herein, includes providing all information relating to any criminal activity known to

defendant, including but not limited to the specific facts of the present offense. The

defendant understands that such information includes both state and federal offenses

arising therefrom. In that regard:

       (a)     Defendant agrees that this plea agreement binds only the United States
               Attorney for the Southern District of Texas and defendant; it does not bind
               any other United States Attorney or any other unit of the Department of
               Justice;
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       (b)     Defendant agrees to testify truthfully as a witness before a grand jury or in
               any other judicial or administrative proceeding when called upon to do so
               by the United States. Defendant further agrees to waive his/her Fifth
               Amendment privilege against seif-incrimination for the purpose of this
               agreement:

       (c)     Defendant agrees to voluntarily attend any interviews and conferences as
               the United States may request;

       (d)     Defendant agrees to provide truthful, complete and accurate information
               and testimony and understands any false statements made by the
               defendant to the Grand Jury or at any court proceeding (criminal or civil), or
               to a government agent or attorney can and will be prosecuted under the
               appropriate perjury, false statement or obstruction statutes;

       (e)     Defendant agrees to provide to the United States all documents in his/her
               possession or under his/her control relating to all areas of inquiry and
               investigation.

       (f)     Should the recommended departure, if anv. not meet the defendant's
               expectations, the defendant understands he remains bound by the terms of
               this agreement and cannot, for that reason alone, withdraw his/her plea.

       11.     Defendant is aware that Title 18, United States Code, § 3742, affords a

defendant the right to appeal the conviction and sentence imposed. The defendant

knowingly and voluntarily waives the right to appeal the conviction and the sentence

imposed, or the manner in which the sentence was determined. Additionally, the

defendant is aware that Title 28, United States Code,§ 2255, affords the right to contest

or "collaterally attack" a conviction or sentence after the conviction or sentence has

become final. The defendant knowingly and voluntarily waives the right to contest his/her

conviction or sentence by means of any post-conviction proceeding. If the defendant files

a notice of appeal following the imposition of sentence, the government will seek specific

performance of this provision. Nothing in the foregoing waiver of appellate and collateral

review of rights shall preclude the defendant from raising a claim of ineffective assistance

of counsel in an appropriate forum.
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         In exchange for the Agreement with the United States, Defendant waives all

defenses based on venue, speedy trial under the Constitution and Speedy Trial Act, and

the statute of limitations with respect to any prosecution that is not time barred on the

date that this Agreement is signed, in the event that (a) Defendant's conviction is later

vacated for any reason, (b) Defendant violates any provision of this Agreement, or (c)

Defendant's plea is later withdrawn.

       12.     In agreeing to these waivers, defendant is aware that a sentence has not

yet been determined by the Court. The defendant is also aware that any estimate of the

possible sentencing range under the sentencing guidelines that he/she may have

received from his/her counsel, the United States or the Probation Office, is a prediction,

not a promise, did not induce his/her guilty plea, and is not binding on the United States,

the Probation Office or the Court. The United States does not make any promise or

representation concerning what sentence the defendant will receive. Defendant further

understands and agrees that the United States Sentencing Guidelines are "effectively

advisory" to the Court. United States v. Booker, 125 S.Ct. 738 (2005). Accordingly,

Defendant understands that, although the Court must consult the Sentencing Guidelines

and must take them into account when sentencing Defendant, the Court is not bound to

follow the Sentencing Guidelines nor sentence Defendant within the calculated guideline

range.


         13.   The Defendant understands and agrees that each and all waivers contained

in the Agreement are made in exchange for the concessions made by the United States

in paragraph 2 of this plea agreement.




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       14. The United States reserves the right to carry out its responsibilities under

guidelines sentencing. Specifically, the United States reserves the right:

       (a)     to bring its version of the facts of this case, including its evidence file and
               any investigative files, to the attention of the Probation Office in connection
               with that office's preparation of a presentence report;

       (b)     to set forth or dispute sentencing factors or facts material to sentencing;

       (c)     to seek resolution of such factors or facts in conference with defendant's
               counsel and the Probation Office; and,

       (d)     to file a pleading relating to these issues, in accordance with U.S.S.G.
               Section 6A1.2 and Title 18, U.S.C.§ 3553(a).

       15.     Defendant is aware that the sentence will be imposed after consideration of

the United States Sentencing Guidelines and Policy Statements, which are only advisory,

as well as the provisions of Title 18, U.S.C. § 3553(a).            Defendant nonetheless

acknowledges and agrees that the Court has authority to impose any sentence up to and

including the statutory maximum set for the offense(s) to which Defendant pleads guilty,

and that the sentence to be imposed is within the sole discretion of the sentencing judge

after the Court has consulted the applicable Sentencing Guidelines. Defendant

understands and agrees the parties' positions regarding the application of the Sentencing

Guidelines do not bind the Court and that the sentence imposed is within the discretion

of the sentencing judge. If the Court should impose any sentence up to the maximum

established by statute, or should the Court order any or all of the sentences imposed to

run consecutively, Defendant cannot, for that reason alone, withdraw a guilty plea, and

will remain bound to fulfill all of the obligations under this plea agreement.




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       16.     Defendant understands that by entering into this agreement, he/she

surrenders certain rights as provided in this plea agreement. Defendant understands that

the rights of a defendant include the following:

       (a)     If defendant persisted in a plea of not guilty to the charges, defendant would
               have the right to a speedy jury trial with the assistance of counsel. The trial
               may be conducted by a judge sitting without a jury if the defendant, the
               United States, and the court all agree.

       (b)     At a trial, the United States would be required to present witnesses and
               other evidence against the defendant. Defendant would have the
               opportunity to confront those witnesses and his/her attorney would be
               allowed to cross-examine them. In turn, the defendant could, but would not
               be required to present witnesses and other evidence on his/her own behalf.
               If the witnesses for defendant would not appear voluntarily, he/she could
               require their attendance through the subpoena power of the court.

       (c)     At a trial, defendant could rely on a privilege against self-incrimination and
               decline to testify, and no inference of guilt could be drawn from such refusal
               to testify. However, if the defendant desired to do so, he/she could testify
               on his/her own behalf.

       17.     If defendant should fail in any way to fulfill completely all of the obligations

under this plea agreement, the United States will be released from its obligations under

the plea agreement, and the defendant's plea and sentence will stand. If at any time

defendant retains, conceals or disposes of assets in violation of this plea agreement, or

if defendant knowingly withholds evidence or is otherwise not completely truthful with the

United States, then may move the Court to set aside the guilty plea and reinstate

prosecution. Any information and documents that have been disclosed by defendant,

whether prior to or subsequent to this plea agreement, and all leads derived therefrom,

will be used against defendant in any prosecution.

       18.     This written plea agreement, consisting of nine pages, including the

attached certifications of defendant and his/her attorney, constitutes the complete plea

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agreement between the United States, defendant and his/her counsel. No promises or

representations have been made by the United States except as set forth in writing in this

plea agreement. Defendant acknowledges that no threats have been made against

him/her and that he/she is pleading guilty freely and voluntarily because he/she is guilty.

       19.     Any modification of this plea agreement must be in writing and signed by all

parties.




APPROVED:




Assistant U.S. Attorney



Forney           enda




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                           CERTIFICATION BY THE DEFENDANT


       I have consulted with my counsel and fully understand all my rights with respect to

the charae(s) pending against me. Further, I have consulted with my attorney and fully

understand my rights with respect to the provisions of the Sentencing Guidelines and

Policv Statements which may apply in my case. I have read this plea agreement and

carefully reviewed every part of it with my attorney. I understand this agreement and I

voluntarily agree to it.




        ant X                                   Date




                             CERTIFICATION BY ATTORNEY

       I have fully explained to the defendant, his rights with respect to the pending

indictment/information.     Further, I have reviewed the provisions of the Sentencing

Guidelines and Policy Statements and I have fully explained to the defendant the

provisions of those Guidelines which may apply in this case. I have carefully reviewed

every part of this plea agreement with the defendant. To my knowledge, the defendant's

decision to errter-intQthis agreement is an informed and voluntary one.




Counsel for De                                  Date''^     ^




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